330 F.2d 953
    UNITED STATES of America ex rel. Joseph PAGANO, Relator,v.Walter FITZPATRICK, Warden of the Federal Detention Headquarters, New York, N. Y. and Anthony Marasco, United States Marshal for the Southern District of New York, Appellees.
    No. 449.
    Docket 28814.
    United States Court of Appeals Second Circuit.
    Argued April 8, 1964.
    Decided April 27, 1964.
    
      Daniel H. Greenberg, New York City, for appellant.
      Robert M. Morgenthau, U. S. Atty., for Southern Dist. of New York, for appellees, Philip J. Ryan, Jr., Robert E. Kushner, Asst. U. S. Attys., of counsel.
      Booth, Lipton &amp; Lipton, New York City, for Milton E. Sahn, trustee in bankruptcy of Murray Packing Co., Inc., Edgar H. Booth, New York City, of counsel.
      Before SWAN, MOORE and SMITH, Circuit Judges.
      SWAN, Circuit Judge:
    
    
      1
      Since May 28, 1963 appellant has been confined at the Federal Detention Headquarters in New York City for contempt of court in failing to comply with the Referee's order of July 24, 1961 directing him to turn over $745,000 to the trustee in bankruptcy of Murray Packing Co., Inc. See Sahn v. Pagano, 2 Cir., 302 F.2d 629, cert. den. 371 U.S. 819, 83 S.Ct. 34, 9 L.Ed.2d 59, for the story of his gross looting of the bankrupt's estate and his incredible explanation of disposal of the loot. The passage of time will eventually erode the inference of continued control of stolen funds, Maggio v. Zeitz, 333 U.S. 56, 68 S.Ct. 401, 92 L.Ed. 476. But here less than a year has passed, and Pagano has offered no plausible account of what happened to them. The bankruptcy court should not be forced to abandon its coercive efforts as yet. Accordingly motion for bail pending appeal is denied and dismissal of the application for habeas corpus is affirmed.
    
    